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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

UNITED STATES OF
AMERICA,
                                       :
                   Plaintiff,
                                              Case No. 2:20-cr-156
       v.
                                              Judge Sarah D. Morrison


AMY L. HUGO,                           :

                   Defendant.


                                     ORDER

      This matter is before the Court for consideration of a Report and

Recommendation issued by Magistrate Judge King on October 21, 2020. (ECF No.

12.) The time for filing objections to the Report and Recommendation has passed,

and no objections have been filed. Therefore, the Court ADOPTS the Report and

Recommendation. For the reasons set forth in the Report and Recommendation,

Defendant Amy Hugo’s plea of guilty to Counts 1–4 of the Information (ECF No. 2)

is ACCEPTED.



      IT IS SO ORDERED.


                                      /s/ Sarah D. Morrison
                                      SARAH D. MORRISON
                                      UNITED STATES DISTRICT JUDGE
